                 Case 8-19-73147-las                 Doc 5-2            Filed 05/01/19           Entered 05/01/19 08:42:49


Information to identify the case:
Debtor 1              Dennis R Grieco                                                           Social Security number or ITIN         xxx−xx−9218
                      First Name   Middle Name   Last Name                                      EIN _ _−_ _ _ _ _ _ _
Debtor 2              Patricia J Grieco                                                         Social Security number or ITIN         xxx−xx−1879
(Spouse, if filing)
                      First Name   Middle Name   Last Name                                      EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of New York
                                                                                                Date case filed for chapter 7 4/30/19
Case number:          8−19−73147−las


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case                                                                                                     Revised: 12/17


For the debtor(s) listed above, a case has been filed under Chapter 7 of the Bankruptcy Code. An order for relief has been entered. This notice
has important information about the case for creditors, debtors, and trustees, including information about the meeting of creditors and
deadlines. Read both pages carefully.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court. Do not include more than
the last four digits of a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with
the court.

                                       About Debtor 1:                                            About Debtor 2:
1.Debtor's Full Name          Dennis R Grieco                                                     Patricia J Grieco
2.All other names used in the dba DRG Training Enterprises, Inc.
  last 8 years
3.Address                     222 Elton Road                                                      222 Elton Road
                                       Stewart Manor, NY 11530−5008                               Stewart Manor, NY 11530−5008
4.Debtor's Attorney                    Allan B. Mendelsohn                                        Contact Phone (631) 923−1625
                                       Allan B. Mendelsohn, LLP                                   Email: amendelsohn@amendelsohnlaw.com
  Name and address                     38 New Street
                                       Huntington, NY 11743
5.Bankruptcy Trustee                   Richard L Stern                                            Contact Phone 631 470−6265
                                       Richard L. Stern Law, PLLC                                 Email: rstern@rsternlaw.com
  Name and address                     38 New Street
                                       Huntington, NY 11743
6.Meeting of Creditors                 June 11, 2019 at 09:00 AM                                  Location:
                                                                                                  Office of the United States Trustee, Long
                                                                                                  Island Federal Courthouse, 560 Federal
                                                                                                  Plaza − Room 563, Central Islip, NY
                                                                                                  11722−4437
7.Deadlines                            Deadline to Object to Discharge or to Challenge            Filing Deadline:    8/12/19
                                       Whether Certain Debts are Dischargeable:
  The Bankruptcy Clerk's Office must You must file a Complaint:
  receive these documents and any      • if you assert that the debtor is not entitled to         You must file a Motion:
  required filing fee by the following   receive a discharge of any debts under any of the        • if you assert that the discharge should be
  deadlines.                             subdivisions of 11 U.S.C. § 727(a)(2) through (7),         denied under § 727(a)(8) or (9).
                                         or
                                       • if you want to have a debt excepted from discharge
                                         under 11 U.S.C § 523(a)(2), (4), or (6).

                                       Deadline to Object to Exemptions:                          Filing Deadline: 30 days after the conclusion
                                       The law permits debtors to keep certain property as        of the meeting of creditors
                                       exempt. If you believe that the law does not authorize
                                       an exemption claimed, you may file an objection.


8.Presumption of Abuse                 If the presumption of abuse arises, you may have the right to file a motion to dismiss the case under 11
                                       U.S.C. § 707(b). Debtors may rebut the presumption by showing special circumstances.
                                       The presumption of abuse does not arise.
9.Bankruptcy Clerk's Office            Address of the Bankruptcy Clerk's Office:                  Hours Open:
                                       290 Federal Plaza                                          Monday − Friday 9:00 AM − 4:30 PM
                                       Central Islip, NY 11722
  Documents in this case may be filed
  at this address. You may inspect all Clerk of the Bankruptcy Court:
  records filed in this case at this                                                              Contact Phone (631) 712−6200
                                       Robert A. Gavin, Jr.
  office or online at www.pacer.gov.                                                              Date: 5/1/19
                                                                                                                    For more information, see page 2 >
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Debtor Dennis R Grieco and Patricia J Grieco                                                Case number 8−19−73147−las
10. Legal Advice             The staff of the Bankruptcy Clerk's Office cannot give legal advice. To protect your rights,
                             consult an attorney.

11. Creditors May Not Take              The filing of the case imposed an automatic stay against most collection activities. This
    Certain Actions                     means that creditors generally may not take action to collect debts from the debtors or the
                                        debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish
                                        wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors.
                                        Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors
                                        who violate the stay can be required to pay actual and punitive damages and attorney's fees.
                                        Under certain circumstances, the stay may be limited to 30 days or not exist at all, although
                                        debtors can ask the court to extend or impose a stay.

12. Meeting of Creditors                A meeting of creditors is scheduled for the date, time and location listed on the front side.
                                        Debtors must attend the meeting to be questioned under oath by the trustee and by creditors.
                                        In a joint case, both spouses must attend. Creditors may attend, but are not required to do
                                        so. The meeting may be continued and concluded at a later date specified in a notice filed
                                        with the court.

13. Proof of Claim                      Deadline for holder(s) of a claim secured by a security interest in the debtor(s)' principal
                                        residence (Rule 3002(c)(7)(A)):        Filing Deadline: 07/09/2019
                                        No property appears to be available to pay creditors. Therefore, other than claims secured by
                                        a security interest in the debtor(s)' principal residence, please do not file a proof of claim now.
                                        If it later appears that assets are available to pay creditors, the Clerk will send you another
                                        notice telling you that you may file a proof of claim and stating the deadline.
                                        Do not include this notice with any filing you make with the court.

14. Discharge of Debts                  The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to
                                        a discharge of any debts or who want to have a particular debt excepted from discharge may
                                        be required to file a complaint in the Bankruptcy Clerk's Office within the deadlines specified
                                        in this notice. (See line 7 for more information.)

15. Exempt Property                     The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                        sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                        may inspect that list at the Bankruptcy Clerk's Office or online at www.pacer.gov. If you
                                        believe that the law does not authorize an exemption that the debtors claim, you may file an
                                        objection. The Bankruptcy Clerk's Office must receive the objection by the deadline to object
                                        to exemptions in line 7.

16. Creditors with a Foreign            If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    Address                             asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                        United States bankruptcy law if you have any questions about your rights in this case.

17. Option to Receive Notices           1) The Electronic Bankruptcy Noticing (EBN) Program is open to all parties. You can register
    Served by the Clerk by              for EBN at the BNC website https://bankruptcynotices.uscourts.gov/, or
    Email Instead of by U.S.            2) Debtors can register for DeBN by filing local form "Debtor's Electronic Bankruptcy Notice
    Mail                                Request" with the Clerk of Court. Both options are FREE and allow the Clerk to quickly
                                        send you court−issued notices and orders by email.

18. Undeliverable Notices               Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility
                                        to obtain the parties correct address, resend the returned notice, and notify this office of the
                                        parties change of address. Failure to provide all parties with a copy of the notice may
                                        adversely affect the debtor as provided by the Bankruptcy Court.

19. Form 121 Statement of               The debtor or debtor's attorney is required to bring a paper copy of the petition with full social
    Social Security #                   security number displayed to the first meeting of creditors.

20. Personal Financial                  In order to receive a discharge, the debtor must complete a Personal Financial Management
    Management Course                   Course and must file a Certification About a Financial Management Course (Official Form
                                        423) within 60 days after the first date set for the section 341 meeting. If the Certification
                                        About a Financial Management Course is not filed within the allotted time, a discharge will
                                        not be issued and the case will be closed.


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